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                              United States Court of Appeals
                                  for the Fourth Circuit
                                       No. 19-4392

                                  ____________________

                                       United States,
                                        Appellee,
                                            v.
                                      Eric Grinder,
                                       Appellant.
                                  ____________________

                        Appeal from the United States District Court
                                for the District of Maryland
                                  No. 1:17-cr-00226-CCB-1
                                   ____________________

                                  Appellant’s Reply Brief




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                                          Argument

                Grinder replies to several arguments in the government’s Response

        Brief (RB) and continues to rely on the arguments in his Opening Brief

        (OB).

        I.      The state warrant was overbroad.

                The government erroneously contends that: (1) the state warrant

        affidavit established probable cause to believe Grinder owned a laptop,

        which, along with his cell phone, would be found at his home; and (2) the

        affidavit provided probable cause to seize all electronic devices in his

        home, regardless of ownership.

                A.   The affidavit did not demonstrate probable cause to
                     believe Grinder’s cell phone and computer would be at
                     his home.
                     1.    The affidavit indicated Grinder was not home.

                Grinder’s Opening Brief explained that the state affidavit strongly

        suggested Grinder would not be home when police obtained and executed

        the search warrant. OB_19-20. In response, the government notes the

        affidavit did not explicitly state that “[Grinder] had ‘no immediate plans to

        return’ to his home.” RB_25. Nevertheless, the affidavit makes it clear

        Grinder was unlikely to be home.



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              According to the affidavit, Grinder left the house on the afternoon of

        Monday, November 28, 2016. S.J.A._4. It asserts Alisha and Grinder

        engaged in a text-message conversation “since Monday afternoon

        (11/28/2016) through this afternoon,” i.e., the afternoon of Tuesday,

        November 29th, when the warrant issued. S.J.A._4-5. And it alleges Alisha

        “currently does not know where [Grinder] is.” S.J.A._4. Given the brief

        (24-hour) window between Grinder’s departure and the warrant

        application, and given the ongoing text-messaging between Grinder and

        Alisha, her statement that she did not then know his whereabouts strongly

        suggests he was not at the couple’s home.1

              The government argues the affidavit suggests Grinder had returned

        home because it mentions a text message he sent Alisha saying “‘he [wa]s

        sitting in a house with a Schedule I Narcotic sitting on his stomach.’”

        RB_25. The affidavit’s next two sentences, however, directly refute the

        government’s suggestion: when Alisha asked Grinder to come home, he




              1 The government observes that Grinder in fact returned home just
        before 6 p.m. on November 29th. RB_25-26. But this information was not
        presented to the magistrate, see S.J.A._1-5, and it therefore can play no role
        in the probable-cause analysis. United States v. Lyles, 910 F.3d 787, 791 (4th
        Cir. 2018).
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        responded, “Come home with a controlled substance I bought for you that

        I’ll get in trouble for.” S.J.A._4. As this response makes clear, Grinder did

        not intend, at least in the immediate future, to return home, because he

        feared he would end up in legal trouble if he did. Thus it is plain that the

        house in which Grinder was sitting was not the couple’s home at 261

        Montpelier Court.

              The government does not dispute this interpretation of Grinder’s text

        message, nor does it explain how that message is consistent with the

        government’s assertion that “the affidavit contained no information

        suggesting that [Grinder] would not or did not simply return to his home

        after he left on November 28, 2016.” RB_26. Instead, the government falls

        back on “the general rule that it is reasonable . . . to assume that a person

        keeps his possessions where he resides.” RB_24. That is true as far as it

        goes. But Peffer v. Stephens, 880 F.3d 256 (6th Cir. 2018), on which the

        government relies, makes clear the government’s “general rule” has no

        application here.

              As Peffer explains, “[i]f an affidavit presents probable cause to believe

        that a crime has been committed by means of an object, . . . a magistrate

        may presume that there is a nexus between that object and the suspect’s
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        current residence, unless the affidavit contains facts that may rebut that

        presumption.” 880 F.3d at 270-71 (emphasis added); see also, e.g., United

        States v. Aljabari, 626 F.3d 940, 946 (7th Cir. 2010) (“When probable cause

        exists to believe an individual has committed a crime involving physical

        evidence, and when there is no articulable, non-speculative reason to believe that

        evidence of that crime was not or could not have been hidden in that individual’s

        home, a magistrate will generally be justified in finding probable cause to

        search that individual’s home.” (emphasis added)). Here, the state

        affidavit contained facts that “rebut th[e] presumption” on which the

        government relies. Peffer, 880 F.3d at 271. That affidavit quoted Grinder,

        who had his cell phone with him, as indicating he would not be returning

        to his home in the immediate future. Thus there existed an “articulable,

        non-speculative reason to believe” that Grinder’s cell phone “was not or

        could not have been hidden in [his] home.” Aljabari, 626 F.3d at 946.

              The same is true of Grinder’s laptop, assuming he owned one.

        Although the state affidavit did not say Grinder had his laptop with him

        when the warrant issued, it is reasonable to assume that someone who

        leaves his home with no immediate plans to return would take with him



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        important personal items like a computer, especially one containing

        evidence of a serious crime. OB_19-20.

                    2.    The affidavit does not establish probable cause to
                          believe Grinder owned a computer.

              The government does not dispute that the state affidavit provides no

        basis to believe Grinder owned a computer specifically. Rather, it

        essentially asserts that whenever a suspect has accessed the internet in

        connection with a crime, probable cause exists to seize any and all internet-

        connected devices he owns—including a laptop that may or may not

        exist—even when police know for a fact that he owns a different internet-

        connected device. The government’s cited cases either are distinguishable

        or do not address the overbreadth question presented in this appeal, and

        are therefore irrelevant. See United States v. Norman, 935 F.3d 232, 240-41

        (4th Cir. 2019) (explaining that where an issue “was not raised, not argued,

        and hence not analyzed” in a previous case, that case does not control);

        United States v. Horton, 693 F.3d 463, 479 n.16 (4th Cir. 2012) (“Since we

        have never squarely addressed the issue, and have at most assumed it, we

        are free to address the issue on the merits.”).




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              First, the government cites United States v. Williams, 592 F.3d 511 (4th

        Cir. 2010), in which this Court upheld a warrant that “allowed the search of

        ‘[a]ny and all computer systems and digital storage media.’” RB_27. But

        the Williams defendant did not argue the supporting affidavit failed to

        establish probable cause to seize “any and all” computer systems. His

        appeal presented only “two questions: (1) whether the government’s search

        for and seizure of child pornography fell within the scope of the warrant’s

        authorization; and (2) whether the evidence of child pornography was in

        any event properly seized under the plain-view exception to the warrant

        requirement.” Williams, 592 F.3d at 519. Because Williams considered only

        the scope-of-the-warrant and plain-view questions, and not the

        overbreadth question, it has no bearing on this portion of Grinder’s appeal.

              Second, the government points to United States v. Burke, 633 F.3d 984

        (10th Cir. 2011), and United States v. Jacobson, 4 F. Supp. 3d 515 (E.D.N.Y.

        2014). RB_27. Both Burke and Jacobson resolved particularity challenges,

        but did not decide whether the warrants at issue were overbroad. 633 F.3d

        at 987-91; 4 F. Supp. 3d at 518. Overbreadth and particularity address

        different concerns. Owens ex rel. Owens v. Lott, 372 F.3d 267, 276 (4th Cir.



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        2004). Since neither Burke nor Jacobson involved an overbreadth challenge

        like Grinder’s, those cases are immaterial.

              Third, the government analogizes to United States v. Bosyk, 933 F.3d

        319 (4th Cir. 2019). RB_28-29. The affidavit in Bosyk alleged that someone

        using an IP address registered to the defendant’s home had clicked on a

        link that led to child-pornography videos. 933 F.3d at 323. The defendant

        argued the affidavit did not establish probable cause to seize electronic

        devices from his home—but only on the theory that it was not necessarily

        clear to the person who clicked on the link that it would take the user to

        child pornography. Id. at 326-27. He did not argue the warrant should

        have been limited to certain electronic devices but not others.

              Fourth, the government relies on United States v. Manafort, 314 F.

        Supp. 3d 258 (D.D.C. 2018). RB_28. Manafort upheld, against an

        overbreadth challenge, a warrant permitting police to seize from the

        defendant’s home “computers, electronic devices, and storage media (such

        as hard disks or other media that can store data).” 314 F. Supp. 3d at 262.

        The affidavit, however, specifically alleged that the defendant (1) used his

        home office to conduct business related to the offenses under investigation;

        (2) “used a Mac desktop computer in his home office”; (3) “frequently stored
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        historical and current records on external hard drives, thumb drives, and

        magnetic disks”; and (4) “made widespread use of electronic media in the

        course of his business activity.” Id. at 261-62 (emphasis added). Thus the

        affidavit provided specific reason to believe the defendant owned and used

        each of the kinds of devices described in the warrant. The state affidavit in

        this case did not do the same.

              Fifth, the government attempts to distinguish United States v. Griffith,

        867 F.3d 1265 (D.C. Cir. 2017), on the ground that, unlike in Griffith, police

        in this case knew Grinder “used an Internet-enabled device (such as a cell

        phone or computer)” in the commission of a crime. RB_30. This is beside

        the point. Although the state affidavit demonstrated Grinder possessed

        some kind of internet-connected device, it provided absolutely no basis to

        believe that device was a computer, rather than, for instance, the cell phone

        police knew he possessed. Griffith is therefore on point. See 867 F.3d at

        1272 (“[T]he affidavit provided no reason to suppose that Griffith

        possessed [electronic devices apart from cell phones] or that any would be

        found in the apartment.”).

              The government also claims Griffith is inapposite because child abuse,

        unlike murder, “is often recorded by the perpetrators for later re-viewing.”
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        RB_30. The government offers no authority for this highly debatable

        contention. But even if it is true, it does nothing to suggest Grinder owned

        a computer. People can, and do, create and save videos and photographs

        on their phones—a device Grinder was known to possess. Their doing so

        in no way establishes that those people own computers, too.

              B.      The warrant improperly granted authority to seize all
                      devices, regardless of ownership.

              Grinder’s Opening Brief argued the state warrant was overbroad

        because it authorized police to seize any and all electronic devices “without

        regard to ownership.” OB_24. The government’s responses are

        unavailing.

              First, the government cites Griffith for the proposition that “warrants

        may authorize seizure of a ‘broader’ class of devices ‘when a reasonable

        investigation cannot produce a more particular description.’” RB_31. This

        argument omits key language from Griffith:

              There may be circumstances in which police have probable
              cause to seize a phone, yet still lack specific information about
              the phone’s make or model. For example, police might learn a
              suspect uses a phone through an informant, and thus have no
              ability to describe the specific characteristics of any phone
              belonging to him.




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        867 F.3d at 1276 (emphasis added). As this passage makes clear, Griffith

        envisions cutting police some slack when they know the particular

        category of device a suspect possesses (e.g., a phone), but cannot provide

        more “specific characteristics” such as “make and model.” Griffith does not

        say a warrant may leave out crucial, and basic, information such as the

        identity of the phone’s owner.

              And in any event, Griffith explains that even when a more particular

        description is impossible, a warrant still may not “confer a blanket

        authorization to search for and seize all electronic devices,” regardless of

        ownership. Id. Instead, the impossibility of greater specificity simply

        means that, when officers are executing the warrant, “some innocuous

        devices would need to be examined, at least cursorily, to determine their

        relevance to the investigation.” Id. If that cursory examination reveals the

        devices to be “unrelated to the crime” under investigation, the warrant

        would not authorize their seizure. Id. at 1277.

              Second, the government contends the affidavit “established probable

        cause to believe that evidence would be found on [Alisha’s] phone.”

        RB_32. The affidavit suggests, however, that Alisha, who had her phone

        with her, was not at the house, thereby severing the nexus between
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        Alisha’s phone and the home. See S.J.A._2 (“[I]t was reported that Alesha

        was taking [Jane Doe] and spending the night with a family member.”).

              And even if the affidavit established probable cause as to all cell

        phones in the house, it did not make a similar showing with respect to all

        computers. The affidavit gave no reason to believe that Alisha’s computer,

        if she owned one, contained evidence of Grinder’s sexual abuse. With

        respect to computers, therefore, the warrant “far outstripped the police’s

        proffered justification for entering the home—viz., to recover any devices

        owned by [Grinder].” Id. at 1276.

              C.    The good-faith exception does not apply.

              The government’s good-faith argument relies on this Court’s

        unpublished opinion in United States v. Burton, 756 F. App’x 295 (4th Cir.

        2018). RB_34. In that case, the defendant admitted to police that he had

        tried to take an “up-skirt” photo of a complaining witness with his cell

        phone, and had in fact taken such photos of other women. 756 F. Appx’ at

        297-98. The police searched two of the defendant’s cell phones but found

        no photos of the complainant. Id. at 297. Officers then obtained a warrant

        to search the defendant’s home for “[t]he entire contents” of “any

        computer, computer related storage devices to include flashdrives,

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        memory devices, external hard drives, cameras, cell phones, [and]

        laptops.” Id. at 298. This Court upheld the search under the good-faith

        exception because (1) officers knew the defendant “had a laptop with him”

        when he tried to photograph the complainant, and (2) officers “had not

        recovered photos of [the complainant] directly from the phones,” so they

        “reasonably could have believed that the evidence had been transferred to

        a file in an electronic device, or electronic storage device, located in [the

        defendant’s] home.” Id.

              Burton is not on point. Unlike in Burton, police here did not know

        Grinder owned a computer. And, because they had not searched Grinder’s

        phone, they had no reason to believe any internet-related evidence had

        been moved from his phone to another device. The officers in Burton also

        had no information demonstrating the devices in question would not be in

        the suspect’s house, as officers in this case did. Finally, Burton did not

        address the second overbreadth argument Grinder makes here: that the

        state warrant was overbroad because it permitted seizure of all devices,

        regardless of ownership. Burton therefore does nothing to establish good

        faith in this case.



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        II.   The search of Grinder’s laptop exceeded the scope of the state
              warrant.
              A.    The HSI analyst searched areas of the laptop where there
                    was no probable cause to believe evidence would be
                    found.

              The government contends that anytime a computer has been used in

        connection with a crime, officers searching the computer pursuant to a

        warrant may examine any and every kind of data, in any and every

        location, even if the supporting affidavit provides no reason whatsoever to

        believe that a particular type of data, stored in a particular location, will

        contain evidence of a crime. RB_36-46. Therefore, the government insists,

        agents could search Grinder’s laptop from top to bottom, notwithstanding

        that the state affidavit established only a single link between an internet-

        connected device and sexual abuse: the allegation that Grinder ordered

        drugs online. The government’s arguments do not support this

        astonishingly broad assertion of authority.

              First, the government maintains that the narrower search proposed

        by Grinder is inconsistent with Williams. RB_36. But as Grinder’s Opening

        Brief explained, see OB_40-41, the affidavit in Williams established probable

        cause to believe particular files (“images and texts describing sexual

        interaction with minors and child erotica”) would be found on the

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        defendant’s computer, and the warrant specifically authorized police to

        seize those files. 592 F.3d at 515, 520. The affidavit in this case did not

        identify, or even implicitly allude to, any particular electronic files, and the

        warrant did not expressly authorize their seizure. Allowing police to

        search all of a computer’s files in a situation like this—where the warrant

        and affidavit do not suggest the computer will contain any files

        constituting evidence of a crime—would conflict with basic tenets of

        Fourth Amendment law. OB_41-44.

              Second, the government contends a narrower search would require

        police “‘to identify ex ante every item of evidence that will be relevant and

        the precise form that it will take—a plainly unrealistic expectation.’” RB_40

        (quoting United States v. Dargan, 738 F.3d 643, 648 (4th Cir. 2013)). The

        warrant in Dargan authorized police to search a suspect’s home for, inter

        alia, “‘indicia of occupancy, residency, of the premises . . . including but not

        limited to, utility and telephone bills, and canceled envelopes.’” 738 F.3d at

        648. When officers seized a receipt from the home, the defendant argued it

        fell outside the warrant’s scope. Id. at 647. This Court disagreed, holding

        that although a receipt is not a utility bill, telephone bill, or “canceled

        envelope,” it qualifies as an indicium of occupancy. Id.
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              The government’s citation to Dargan might have some force if, for

        example, the warrant and affidavit in this case permitted a search for

        “visits to websites of pharmacies selling Clonazelam, including but not

        limited to CVS and Walgreens,” but the government instead seized

        evidence of a trip to the Rite-Aid website. In that case, the warrant’s failure

        to list Rite-Aid “by name,” id. at 648, would be unimportant. But Dargan

        does not say that when determining the scope of a warrant, courts should

        sweep in whole categories of evidence that the warrant and the affidavit do

        not contemplate at all. It does not say, in other words, that police may

        seize “indicia of occupancy” even if the warrant permits police to search a

        home only for “firearms and controlled substances.”

              Thus limiting the computer search to browser history does not

        impose on investigators a requirement to predict “the precise form that

        [evidence] will take.” Id. at 648. Rather, consistent with Dargan, it merely

        restricts them to searching for the general category of evidence for which

        the affidavit provided probable cause.

              Third, the government speculates that evidence of Grinder’s drug

        purchases “could” take the form of “Word documents, PDFs, photographs,

        or other types of files”—for example, “a PDF of an invoice,” a “list of
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        websites where [Grinder] purchased the drugs,” or photos of “receipts for

        the purchased drugs or . . . the drugs themselves.” RB_41-42. But

        “[d]etermining whether a search exceeds the scope of its authorizing

        warrant is . . . an exercise in reasonableness assessed on a case-by-case

        basis,” United States v. Loera, 923 F.3d 907, 916 (10th Cir. 2019), and is not

        “reasonable” to believe such files would be found on Grinder’s laptop.

              Online shoppers rarely, if ever, download invoices for their

        purchases. To the extent an internet purchaser has a digital invoice, it is

        almost certainly in the form of an email, not a PDF stored on his computer.

        It is equally unreasonable to assume Grinder took a photo of an online

        receipt, since that is not the type of thing people typically do. Likewise, it

        is unreasonable to assume Grinder keeps a list of websites where he

        purchases drugs to use in furtherance of sexual abuse. Creating lists of that

        type is not normal human behavior, and hypothesizing the existence of

        such a list is more fanciful than reasonable.2




              2 The government notes that the state warrant “explicitly referenced

        evidence in the form of ‘invoices/receipts for mail order medications.’”
        RB_42. The warrant, however, listed this category of evidence in addition to



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              To be sure, evidence of Grinder’s drug purchases “could” take the

        form of the files the government imagines. RB_41-42. But “[t]he scope of

        a lawful search is defined by the object of the search and the places in

        which there is probable cause to believe that it may be found.” United

        States v. Wells, 98 F.3d 808, 810 (4th Cir. 1996). The government cannot

        evade this limitation by defining “the object of the search” so broadly that

        it encompasses any and all items that “could” exist, even if there is no

        evidence to suggest—and it is unreasonable to assume—that they actually

        do exist. Relying on far-fetched hypotheticals is not reasonable.

              The Supreme Court has said that “probable cause to believe that a

        stolen lawnmower may be found in a garage will not support a warrant to

        search an upstairs bedroom.” United States v. Ross, 456 U.S. 798, 824 (1982).

        On the government’s view, however, police who believe a lawnmower is in

        a garage may in fact search the upstairs bedroom because that bedroom




        “computers,” S.J.A._6; thus it plainly referred to hard-copy invoices and
        receipts that were separate from the contents of any computers. This
        makes sense. Packages delivered from online retailers contain paper
        receipts in the vast majority of cases—perhaps all of them. It would
        therefore be unsurprising to find such receipts in Grinder’s home. By
        contrast, online purchases virtually never generate PDFs of receipts, so
        there is no reason to expect to find one on Grinder’s computer.
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        “could” contain a photo of the lawnmower. Never mind that there is

        absolutely no reason to believe such a photo actually exists—the crucial

        fact, according to the government, is that it “could.” Likewise, “if you are

        looking for an adult elephant, searching for it in a chest of draw[er]s is not

        reasonable.” Archer v. Chisholm, 870 F.3d 603, 617 (7th Cir. 2017). But the

        government apparently believes a search of the chest would be reasonable

        after all because it “could” reveal a list of websites where the suspect buys

        elephant food, or receipts reflecting those purchases.

              If the government were right, the limits described in Ross would be

        no limits at all. This Court should decline the government’s invitation to

        convert all computer searches into “general, exploratory rummaging[s] in a

        person’s belongings.” United States v. Kimble, 855 F.3d 604, 610 (4th Cir.

        2017).

              Fourth, the government posits several other types of evidence that

        could have been located on Grinder’s computer, e.g., “other records of

        Internet activity,” “‘bookmarked’ or ‘favorite’ web pages,” and “search

        terms that the user entered into any Internet search engine.” RB_41. It is

        not necessarily unreasonable to believe some of these types of evidence,

        such as terms entered in a search engine, might exist. But the government
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        offers no reason to believe that such evidence would be reduced to files—

        much less files of the type that, if opened by the HSI analyst, would bring

        his discovery of child pornography within the plain-view exception.

        Absent some affirmative evidence, this Court should not assume—contrary

        to everyday, common-sense understandings of how computers work—that

        typing search terms in Google or Safari generates a Word document, PDF,

        photograph, or other file that is saved to a computer.3

              Fifth, the government argues Grinder’s text messages to Alisha “are

        likely to be present on the laptop too which could be synced to the cell

        phone or which could contain its own independent communications.”

        RB_42. Of course Grinder’s cell phone “could” be synced to his laptop, and

        of course the laptop “could” contain an application that he used to send

        text messages. But the affidavit contains absolutely no facts to support

        such conjecture, and contrary to the government’s position, these are not




              3 The government accuses Grinder of “provid[ing] no basis for his

        claim that ‘browser history’ does not constitute a type of file or files.”
        RB_40. This Court may rely on common sense in resolving Grinder’s
        claim. If the government wants this Court to accept the counterintuitive
        notion that “browser history” is a kind of “file,” it should come forward
        with evidence to support that assertion. It cannot transform a dubious
        proposition into the law simply by noting that the proposition has not been
        disproven.
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        the type of “common sense” inferences that a court may reasonably make.

        There is no reason to believe most people—or even a sizeable minority—

        sync their cell phones to their laptops or send text messages through their

        computers.

              Sixth, the government faults Grinder for not “mak[ing] a record in

        the district court concerning what methodology the forensic analyst

        employed during the examination of the laptop to begin with, or precisely

        how, if at all, the examination could have been done differently.” RB_38.

        The only part of the laptop it was reasonable to search for evidence of drug

        purchases was the browser history. To the extent the government disputes

        that the child-pornography files in this case were not found there, that

        contention is plainly meritless. This Court does not need expert testimony

        to understand that someone examining Google Chrome’s search history is

        not going to stumble across photo or video files. Nor is expert testimony

        required to establish that it is possible to search “web browser activity

        alone,” i.e., to search a web browser’s history without also rifling through a

        computer’s Word documents, PDFs, or PowerPoint files. RB_39. Given the

        obviousness of these propositions, there was no need for Grinder to “make

        a record.”
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              Insofar as this Court believes Grinder’s claim cannot be resolved

        without a record of the HSI analyst’s methodology or how the search

        “could have been done differently,” the burden to create such a record

        should fall on the government, not Grinder. As “a matter of policy” in

        Fourth Amendment suppression cases, “[i]t is more efficient to place the

        burden of production upon the party who ordinarily has most ready access

        to the persons who know the relevant facts.” LaFave, Search & Seizure: A

        Treatise on the Fourth Amendment § 11.2(b). In a case that turns on the

        particulars of a government analyst’s computer search, that party is the

        government. It would therefore make little sense to allocate the burden of

        “making a record” to Grinder.

              If this Court concludes Grinder bore the burden below but failed to

        make a sufficient showing, it should remand for additional fact-finding. It

        was unclear, at the time of the suppression litigation in this case, who bore

        the burden of proving that a computer search either does or does not

        exceed the scope of a warrant. This Court has never addressed that

        question, and it would be unfair to penalize Grinder for failing to put on

        evidence he did not know he was required to present.



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              The government also cites cases suggesting a defendant cannot

        prevail on a computer-search suppression motion if he “offers no

        alternative [search] methodology that would protect his legitimate interests

        and also permit a thorough search for evidence.” RB_39. But Grinder has

        in fact offered such a methodology: the HSI analyst could have searched

        the history of the laptop’s web browsers.4

              Seventh, the government argues data other than browser history are

        “relevant to attribution and authentication,” as well as “knowledge and

        intent.” RB_43. The government makes no effort to support this

        contention. It does not say which non-browser-history “data” it has in




              4 The government contends Grinder’s scope-of-the-warrant claim “is

        unpreserved and therefore subject to the plain-error standard.” RB_35.
        The government does not elaborate this argument, however, and for good
        reason. In his motion, Grinder argued the HSI analyst’s “forensic search of
        the contents of the Toshiba laptop was [not] within the scope of the [state]
        search warrant.” J.A._55. That warrant, he explained, could not properly
        “authoriz[e] an unlimited forensic analysis of all digital files contained on
        [the laptop].” J.A._56.
               It is true that Grinder’s motion did not specifically argue that the only
        part of the computer investigators could search was the browser history.
        But this fact is irrelevant. “Once a federal claim is properly presented, a
        party can make any argument in support of that claim [on appeal]; parties
        are not limited to the precise arguments they made below.” Yee v. City of
        Escondido, 503 U.S. 519, 534 (1992). Grinder “properly presented” his
        scope-of-the-warrant claim in district court, and he is therefore entitled to
        support it on appeal with the browser-history argument. See also United
        States v. Robinson, 744 F.3d 293, 300 n.6 (4th Cir. 2014).
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        mind. Nor does it explain what evidence those unspecified data could be

        used to authenticate, or what type of knowledge and intent they could

        prove. The government’s conjecture is entitled to no weight.

              Eighth, the government asserts “‘it has long been perfectly

        appropriate to search the entirety of a premises or object as to which a

        warrant has issued.’” RB_44 (quoting United States v. Ulbricht, 2014 WL

        5090039, at *14 (S.D.N.Y. Oct. 10, 2014)). But as the Second Circuit

        explained in the Ulbricht appeal, this principle is subject to an important

        limitation: “a warrant may allow the government to search a [suspect’s]

        entire home where there is probable cause to believe that evidence relevant to

        [criminal] activity may be found anywhere in the residence.” United States v.

        Ulbricht, 858 F.3d 71, 102 (2d Cir. 2017) (emphasis added). If police lack

        probable cause to believe evidence may be found “anywhere” in the

        residence, they not search everywhere. Rather, they may search only in

        those places where the object of the search is likely to be found.

              B.    The good-faith exception is inapplicable.

              The government does not contest the general rule that “the Leon good

        faith exception will not save an improperly executed warrant.” OB_46.

        Instead, it simply attempts to distinguish factually the cases cited in

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        Grinder’s Opening Brief. RB_47-48. But regardless of whether the rule

        applies in a particular case, Leon itself makes clear that the good-faith

        exception is inapplicable where officers search beyond “those places and[]

        those objects that it was reasonable to believe were covered by the

        warrant.” 468 U.S. 897, 918 n.19 (1984); see also, e.g., United States v.

        Rowland, 145 F.3d 1194, 1208 n.10 (10th Cir. 1998); United States v. Fuccillo,

        808 F.2d 173, 177 (1st Cir. 1987) (holding good-faith exception inapplicable

        unless police “act within the scope of the warrants and abide by their

        terms”).

              The government also notes that, upon discovering child

        pornography, the HSI analyst suspended his search pending a follow-up

        warrant. RB_47. But this does not change the fact that the analyst was

        searching beyond the scope of the warrant in the first place. The

        government identifies no authority holding the good-faith exception

        applicable where police exceed the scope of a warrant and then use

        illegally discovered evidence to obtain a warrant for the locations where

        they should not have been searching to begin with.




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        III.   The federal warrants were tainted by the illegal search of the
               laptop.
               A.   The government was required—but failed—to show that
                    the initial computer search did not affect investigators’
                    decision to seek the federal warrants.

               Grinder’s Opening Brief explained that when execution of a search

        warrant follows an illegal search of the same location, “the evidence

        recovered in the later search is not admissible unless the government

        establishes that no information gained from the illegal search affected

        either [1] the law enforcement officers’ decision to seek a warrant or [2] the

        magistrate’s decision to grant it.” OB_49. Without directly disputing this

        rule, the government implies it need satisfy only the second of these

        prongs—but not the first. RB_49-50.

               This Court has held, however, that “where the facts call into question

        whether an illegal search affected an officer’s decision to seek a warrant,

        the district court should consider both [] prongs when evaluating whether

        the independent source doctrine applies.” United States v. Hill, 776 F.3d

        243, 252 (4th Cir. 2015). Hill specifically distinguished the cases on which

        the government relies—United States v. Gillenwaters, 890 F.2d 679 (4th Cir.

        1989), and United States v. Allen, 631 F.3d 164 (4th Cir. 2011)—by noting that

        in those cases the Court “had no reason to question whether earlier illegal

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        activity prompted the officer’s decision to seek a warrant because the

        defendants did not contest it.” Id. at 252 & n.5.

              Here, the facts “call into question” whether the initial computer

        search affected investigators’ decision to seek the federal warrants, and

        Grinder “contest[ed]” that issue below. OB_49-56. The government was

        therefore required to satisfy both prongs. Because it made no attempt

        below to carry its burden on the first prong, the government has waived its

        right to argue the independent-source doctrine applies.

              The government claims it did raise this issue in district court. RB_49.

        That is inaccurate. Although the government argued below that the second

        prong was met, J.A._162-64, S.J.A._55-56, it never argued the first prong

        was satisfied. Indeed, the government expressly disclaimed its obligation

        to show that the illegal computer search did not affect investigators’

        decision to seek the federal warrants. J.A._163-64.

              The government argues, in the alternative, that “this Court may

        affirm for any reason in the record, including theories not even relied on

        below.” RB_49. But because the government chose to present no evidence

        relating to the first independent-source prong, nothing in the record

        demonstrates investigators would have sought the federal warrants absent
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        the initial computer search. Indeed, even on appeal the government does

        not try to show that the first prong is met.

              The only argument the government makes that even tangentially

        relates to the first prong is its observation that Alisha informed state

        investigators—not federal investigators—that Grinder allegedly filmed his

        abuse of Jane Doe. RB_52-53. This is irrelevant. The government does not

        deny that, from December 2, 2016, when state investigators learned of the

        filming allegation, until March 17, 2017, when Agent Federico formally

        opened his federal investigation, no one in state law enforcement sought a

        warrant for the computer. Had state agents sought a warrant on March

        17th—the day after Jane Doe’s aunt identified a picture of her from the

        laptop, but three-and-a-half months after Alisha reported the filming

        allegation—there is no question the government would be unable to show

        that evidence from the initial computer search did not affect the decision to

        seek the warrant.

              The government cannot get around this conclusion, which would

        render the federal warrant invalid, by claiming the investigation

        transformed from a state operation into a federal one on March 17th. For

        one thing, the investigation was a joint state-federal enterprise from the
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        start. The analyst who conducted the first search of the computer on

        December 19, 2016, worked for HSI—a division of the federal Department

        of Homeland Security. And Agent Federico’s affidavit repeatedly relies on

        information he received from state investigators. E.g., S.J.A._84-85 (“The

        MSP investigator informed me that . . .”); S.J.A._86 (same).

              More important, even if the government’s supposed state-federal

        divide were real, it would not affect the Fourth Amendment analysis. The

        Supreme Court long ago rejected the “silver platter doctrine,” which

        permitted the admission, in federal court, of evidence illegally seized by

        state law enforcement. Elkins v. United States, 364 U.S. 206, 208 (1960). That

        doctrine, the Court held, “implicitly invites federal officers . . . at least

        tacitly to encourage state officers in the disregard of constitutionally

        protected freedom, providing an inducement to subterfuge and evasion

        with respect to federal-state cooperation in criminal investigation.” United

        States v. Holness, 706 F.3d 579, 591 (4th Cir. 2013). The same dynamic

        would obtain here if, knowing their own warrant application would not

        pass constitutional muster, state agents could simply hand the case over to

        federal investigators, thereby rendering inadmissible evidence admissible.



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              B.    The fruits of the illegal computer search affected the
                    magistrate’s decision to issue the federal computer
                    warrant.

              The government contends Agent Federico’s affidavit, if stripped of all

        reference to the illegally seized images, still establishes probable cause to

        search Grinder’s computer. RB_53. This argument relies entirely on the

        affidavit’s boilerplate allegation that individuals with a sexual interest in

        children “store their child pornography images in a variety of portable

        media” and “frequently maintain multiple computers and portable digital

        storage devices” to store their collections. S.J.A._79.

              This Court has said “the use of profiles, in conjunction with other

        evidence, to establish probable cause is allowable” in child-pornography

        investigations. United States v. Sassani, 1998 WL 89865, at *3 (4th Cir. Mar.

        4, 1998) (unpublished) (emphasis added); see also United States v. Djelilate,

        1999 WL 686896, at *3 (4th Cir. Sept. 3, 1999) (unpublished) (same). But

        apart from the profile information, Agent Federico’s affidavit contained no

        other evidence relevant to probable cause to search Grinder’s computer.

        (The government does not dispute that Jane Doe’s November 2016

        statements to law enforcement and the results of the December 2016

        medical exam are irrelevant to this question.) That affidavit therefore


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        failed to establish probable cause, and the second independent-source

        prong is not satisfied.

        IV.   Investigators unreasonably delayed in obtaining the federal
              warrant for Grinder’s phone.

              In arguing that the nearly four-month delay in seeking the federal

        warrant was reasonable, the government assumes that (1) Grinder’s phone

        was properly seized pursuant to the state warrant, and therefore (2) police

        actually delayed only 20 minutes before obtaining a warrant. RB_54-58.

        As explained above and in Grinder’s Opening Brief, the state affidavit did

        not establish probable cause to seize the phone. Because officers’ seizure of

        the phone was warrantless, both of the government’s assumptions are

        erroneous.

              The government does not contend that, if the state warrant did not

        authorize seizure of the phone, it was reasonable to wait almost four

        months to seek the federal warrant. Nor could it. Under United States v.

        Pratt, 915 F.3d 266 (4th Cir. 2019), a delay of over three-and-a-half months

        was plainly unreasonable. OB_59-61.

              The government suggests in passing that Grinder cannot raise an

        unreasonable-delay claim because “there is no evidence that [he] ever



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        asked for his cell phone back after its seizure.” RB_58-59. The government

        cites no Fourth Circuit case holding a defendant’s failure to request return

        of his property is relevant to, much less determinative of, the unreasonable-

        delay analysis. Nor does it identify any mechanism through which

        Grinder could have sought return of his phone from state police.5

              And even if failure to use such a hypothetical mechanism were

        relevant, it would still constitute only one factor to be weighed in

        “balanc[ing] the government’s interest in the seizure against [Grinder’s]

        possessory interest in the [phone].” Pratt, 915 F.3d at 271; see United States

        v. Stabile, 633 F.3d 219, 235-26 (3d Cir. 2011) (treating lack of request as one

        factor among many). The government has never explained what interest it

        had in holding the phone for four months, or how that interest outweighed

        Grinder’s obvious interest in regaining control of his phone.




              5 Below, the government argued Grinder should have filed a motion
        under Federal Rule of Criminal Procedure 41(g). J.A._227-28. Grinder
        pointed out in response that there is no authority suggesting defendants
        can use the federal rules to request the return of property from state law
        enforcement authorities acting pursuant to a state court warrant. J.A._236.
        Given that reality, the government no longer maintains Rule 41 was
        available to Grinder.
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                                       Conclusion

              Grinder respectfully requests this Court vacate his convictions and

        remand with instructions to grant his motion to suppress.



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           1. This brief has been prepared in Microsoft Word using 14-point,

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           2. Excluding the items identified in Federal Rule of Appellate Procedure

              32(f), this brief contains 6,486 words.



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              I certify that on December 18, 2019, I electronically filed the foregoing

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